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 1                            IN THE UNITED STATES DISTRICT COURT

 2                            FOR THE WESTERN DISTRICT OF MICHIGAN

 3                                       SOUTHERN DIVISION

 4            UNITED STATES OF AMERICA,

 5                   Plaintiff,                    No.   1:20cr183

 6             vs.

 7            TY GERARD GARBIN,

 8                   Defendant.

 9
              Before:
10
                                 THE HONORABLE ROBERT J. JONKER,
11                                      U.S. District Judge
                                      Grand Rapids, Michigan
12                                 Wednesday, August 25, 2021
                                      Sentencing Proceedings
13
              APPEARANCES:
14
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15                         By: MR. NILS R. KESSLER
                           MR. AUSTIN JACOB HAKES
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                                       On behalf of the Plaintiff;
19
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 1                         MR. MARK A. SATAWA
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 3
                                       On behalf of the Defendant.
 4
              REPORTED BY:     MR. PAUL G. BRANDELL, CSR-4552, RPR, CRR
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 1                         08/25/2021

 2                      (Proceedings, 4:00 p.m.)

 3                      THE CLERK:    The United States District Court for the

 4          Western District of Michigan is now in session.           The Honorable

 5          Robert J. Jonker, chief judge, presiding.

 6                      THE COURT:    All right.    We're here on the case of the

 7          United States against Ty Garbin.        It's the time set for

 8          sentencing, and we'll start with appearances.           If you are in

 9          the front and have a speaking role today I certainly don't

10          expect you to wear masks, and so let's begin with appearances

11          and we'll go from there.

12                      MR. KESSLER:    Good afternoon, Your Honor.       Nils

13          Kessler and Austin Hakes for the United States.

14                      THE COURT:    All right.

15                      MR. SPRINGSTEAD:      Good afternoon, Your Honor.      Gary

16          Springstead and Mark Satawa on behalf of Ty Garbin.            Seated

17          behind us is Nicole Springstead.

18                      THE COURT:    Okay.   Very good.    Welcome everyone.       Let

19          me make sure I have received everything that the parties wanted

20          me to see in advance of the sentencing.          Of course, we have the

21          presentence report from our probation officer.           I do have a

22          Government sentencing memorandum and its motion for downward

23          departure.    I have a defense sentencing memo and a motion and

24          brief on the variance issues.        There are exhibits as well to

25          those items.     And then I have a proposed preliminary order of
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 1          forfeiture that I think tracks what's in the plea agreement,

 2          but I did want to confirm that before we go too far.            I think

 3          that's it.    Anything else I should have from the Government in

 4          written form?

 5                      MR. KESSLER:    No, Your Honor.

 6                      THE COURT:    Defense?

 7                      MR. SPRINGSTEAD:      No, Your Honor.

 8                      THE COURT:    Okay.   On the preliminary order of

 9          forfeiture, Mr. Springstead or Mr. Satawa, is the Defense

10          satisfied that that's accurate and should enter.

11                      MR. SATAWA:    It is, Your Honor.      Thank you.

12                      THE COURT:    I'll go ahead and do that as part of the

13          filing today.

14                      Moving to the plea agreement.       This case did come with

15          a plea agreement.      It did call for Mr. Garbin's plea to the

16          only charge against him in the indictment, but included also a

17          promise not to bring other charges.         So it does need the Courts

18          imprimatur, and I am satisfied under 6B1.2 of the guidelines

19          and related authority that it's an appropriate resolution of

20          the case and honors the purposes of sentencing, so I am

21          accepting that.

22                      Moving to the guidelines, then, is the next issue.

23          The base level here is 32 based on the offense of conviction.

24          Six levels are added under Chapter 3 because the victim here is

25          an official victim, Governor Gretchen Whitmer.           That takes us
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 1          to 38.    I do think acceptance of responsibility is appropriate.

 2          I am granting those two points, and is the Government moving

 3          for the third?

 4                      MR. KESSLER:    We are, Your Honor.

 5                      THE COURT:    I'll grant that, taking us to level 35.

 6          The criminal history category is I, so the guideline range off

 7          the chart before considerations of departure and variance would

 8          be 168 to 210 months.      Any guideline objections from the

 9          Government?

10                      MR. KESSLER:    No, Your Honor.

11                      THE COURT:    Or the Defense?

12                      MR. SATAWA:    No, Your Honor.

13                      THE COURT:    Okay.   Then let's get to the meat of the

14          discussion, which is starting with that guideline range what's

15          sufficient but not greater than necessary all things considered

16          to appropriately reflect the § 3553 factors and other

17          sentencing considerations?        I usually start that with the

18          Defense, and I plan to do that here, too.          So either

19          Mr. Satawa, Mr. Springstead, whoever is going to speak I'll

20          invite you.     Why don't you take the podium so you are closer to

21          a microphone that will allow everybody to hear clearly.                Thank

22          you.

23                      MR. KESSLER:    Your Honor, were you planning to address

24          the 5K motion later?

25                      THE COURT:    Yes.
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 1                      MR. KESSLER:    I only ask because it does affect the

 2          guidelines.

 3                      THE COURT:    In fact, as far as the Defense is

 4          concerned, too, if you want to make your comments now on the

 5          departure motion feel free.        I am just looking for the

 6          sentencing package from each side and then I'll make my

 7          rulings.

 8                      MR. SATAWA:    Your Honor, to be honest, Mr. Springstead

 9          and I -- division of labor.        Mr. Springstead was going to

10          address the 5K --

11                      THE COURT:    All right.

12                      MR. SATAWA:    -- if you want us to do that.        He can

13          speak first.

14                      THE COURT:    Either order is fine to me.       You decide

15          what you like to do first.

16                      MR. SATAWA:    Your Honor, if it please this Court,

17          the -- it's so often focused when we get to sentencing on the

18          conduct -- and of course, the nine months of Mr. Garbin's life

19          that ended in October of 2020 is mandated on this Court under

20          3553's nature and characteristics of the offense to be taken

21          into account by Your Honor in fashioning the sentence, and that

22          conduct has disturbing facts and allegations as this Court well

23          knows.

24                      The presentation of the Defense, Your Honor, is to ask

25          this Court instead of just focusing on this, which I know this
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 1          Court will not do, to look at the 24 years of Mr. Garbin's life

 2          prior to the beginning of the 2020 calendar year and as well as

 3          the 10 months that Mr. Garbin has gone through since being

 4          arrested for this offense.

 5                      Your Honor, the focus of the Defense presentation is

 6          in an effort to show under 3553 not just the character and

 7          history and characteristics of Mr. Garbin, but to address those

 8          other factors as well:       Deterrence, punishment, et cetera.        And

 9          the question is how does this society react to a person who not

10          only commits this offense but the way the person reacts to it

11          following the offense becomes a critically important question

12          to answer as relates to the 3553 factors.

13                      I would submit, Your Honor, that Dr. Abramsky and

14          Parents for Peace do an excellent job of addressing Ty Garbin's

15          personal background that leads to his maturation into an adult.

16          I think it's important to note that Ty Garbin overcame

17          significant abuse in his own home, physical, psychological,

18          emotional and mental abuse by his own biological father that he

19          witnessed not just on himself but on his sisters, his younger

20          sisters, his two younger sisters and his mother.           He overcame

21          that, went to trade school, became a certified mechanic, and

22          was thriving as a very, very young man in his early 20's.

23                      Along comes COVID.     He is cut back on hours and he is

24          psychologically predisposed to finding himself in a position of

25          becoming swept up in a group such as that charged in the
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 1          current indictment.

 2                      Mr. Garbin does not offer this as an excuse, Your

 3          Honor.    Mr. Garbin offers this because as Dr. Abramsky and

 4          Parents for Peace do a far better job of explaining the unique

 5          psychological background.       Unique to Mr. Garbin as well as

 6          unique to radicalization, radical groups such as that which was

 7          charged in this indictment.

 8                      Mr. Garbin does not excuse or justify his actions in

 9          this case.    I think the comments found in the presentence

10          report, as well as the comments from Parents for Peace,

11          Dr. Abramsky, and his family, all scream that he does not do

12          that.    In fact, Your Honor, the second part of my presentation,

13          the time after being arrested, is what truly in the minds of

14          the Defense sets this case apart.

15                      Mr. Garbin was arrested.      I think the Government even

16          references in its sentencing memorandum, frequently the

17          Government will say, the Defense will say, well, we can't

18          analyze the case and let you know whether or client is

19          interested in pleading guilty or cooperating until we have a

20          chance to review Rule 16 discovery, and as the Government sort

21          of rhetorically asks, well, you know, ask your client.            He

22          knows what he did.      Does he need Rule 16 discovery?        He knows

23          what he did.     Did he commit the crime and is he willing to

24          accept responsibility?

25                      Ty Garbin didn't just do that, Your Honor.          Ty Garbin,
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 1          less than 60 days after the conclusion of his preliminary

 2          examination, as pointed out by the Government, was standing in

 3          front of this Court pleading guilty and had agreed -- he may

 4          not have pled guilty at that point, Your Honor, but he had

 5          agreed to plead guilty and cooperate.

 6                      He has an uber-acceptance of responsibility.          He made

 7          these decisions -- when Mr. Springstead and I were still going

 8          over initial discovery and analysis of the case issues, he made

 9          this decision prior to the Government satisfying its Rule 16

10          discovery obligation.      He did that because he came to us and

11          said, what I did was wrong and I have to correct it, and he

12          did.   He agreed to give the Government proffers, which he has

13          done at least three times.       He has agreed to testify, which he

14          has done at least twice.

15                      The Government does an excellent job of filling in the

16          blanks in terms of the value of that assistance.           And he did

17          that again, Your Honor, before the issuance of Rule 16

18          discovery.    And I think it's important to note that Ty Garbin

19          testified in front of the grand jury in support of the very

20          indictment that got him indicted.         He has fully, completely and

21          universally accepted responsibility for what he did.            He is

22          truly, genuinely, and sincerely sorry.          He is not just

23          committed to himself, to make up for what he did to himself or

24          to his family, but to others as reflected by what Parents for

25          Peace has said both in their written report and in the
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 1           mitigation video presented by the defense, which is to say, Ty

 2           Garbin is 100 percent committed to trying to help others from

 3           going down the path he found himself going down.

 4                      When Your Honor looks at not just that nine-month

 5           period during the commission of the offense, but his background

 6           beforehand and his actions after, we would submit under Rule

 7           3553 -- I'm sorry, not rule.       Under USC 3553(a), Your Honor --

 8           and I apologize -- that these factors create a situation where

 9           a sentence that is sufficient and not greater than necessary --

10           and I will leave the comments as to why this as to

11           Mr. Springstead.     As I said, Your Honor, we respect the

12           Government's recommendation of a nine-year sentence at the

13           bottom of the amended guideline range after the departure

14           motion.   The Defense would respectfully request that a sentence

15           that is sufficient but not greater than necessary for all of

16           these reasons, as well as the reasons contained in all of the

17           filings Dr. Abramsky, Parents for Peace, the support letters

18           and the video, that the sentence that is sufficient but not

19           greater than necessary is six years, 72 months.           Thank you.

20                      THE COURT:    All right.    Thank you, Mr. Satawa.          And

21           we'll go to Mr. Springstead.

22                      MR. SPRINGSTEAD:     Thank you, Your Honor.

23                      As Mr. Satawa already indicated, the Government has

24           done a good job of delineating exactly what Ty has done, the

25           dangers that he has posed to himself, and not surprisingly
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 1           they've recommended a four-level downward departure based

 2           primarily on his testimony before the grand jury.           And of

 3           course, that's all in a framework of trying to come up with a

 4           scale that's uniform for the district so there is not anomalous

 5           departures depending on which AUSA or Defendant is on the case,

 6           and so that kind of quantitative effort I totally understand

 7           and I think that their four-level request is reasonable.

 8                      The only exception that I would take with that are

 9           three points.    No. 1, there is a qualitative difference in Ty's

10           cooperation than any of your routine run-of-the-mill testimony

11           before the grand jury.      This is a case of national interest.

12           Of course, it's even more the State of Michigan is all very

13           interested in this case and what happens to these people who

14           posed a threat to the Governor.        And Ty so far is the only

15           person to come forward, plead guilty, and cooperate.           He is

16           there telling the insider account of what happened during this

17           conspiracy at times that weren't covered by cooperating

18           witnesses, recordings or undercover recordings, and I don't

19           think that that cooperation can be understated in a case like

20           this.   He is going to be a star witness.        He by all accounts

21           has been truthful, honest, and totally cooperative with the

22           Government.    So I think that there is a qualitative difference

23           between their quantitative analysis that they typically use.

24                      Second, I am not sure that the four-level departure

25           incorporates any type of danger analysis, and 5K does list that
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 1           as one of the factors, the danger that one has placed themself

 2           in through cooperation, including his family.

 3                      Of course, Ty has, as the Government said, put a

 4           target on his back by cooperating, particularly against an

 5           extremist group and all of the adherents out there that may

 6           want to make a name for themselves or truly object to him

 7           working with the Government and telling the Government actually

 8           what happened.

 9                      So I don't think that the Government's motion takes

10           that into account.     I think if there was -- as I said in my

11           motion, if this were a white collar case with no danger to it

12           and the person testified in the grand jury, I would fully

13           expect that they would move for the same exact level departure.

14                      And then lastly, the Government -- their quantitative

15           analysis rates the point system based on how they rank the

16           importance of their cooperation, which, you know, that's their

17           purview, but they happen to rate trial testimony as the highest

18           level of cooperation that someone can get, and of course, we

19           anticipate and the Government anticipates that Ty is going to

20           testify at trial.

21                      That being the case, that's not -- that's not a

22           guarantee that he is actually going to get that opportunity to

23           testify at trial.     He may very well -- at the end of the day

24           all the Defendants might plead or there might be something else

25           that happens where he is not presented with that opportunity to
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 1           testify at trial, and that cooperation, if he induces them to

 2           plead, would be just as valuable as if they -- as if he had

 3           testified at trial except he'd save them a tremendous amount of

 4           resources and time in his cooperation.

 5                      So for those reasons, Your Honor, we're moving for an

 6           additional departure under 5K that would take Ty down to, in

 7           combination with the variance motion, to the six years that

 8           Mr. Satawa requested.

 9                      THE COURT:    All right.    Thank you, Mr. Springstead.

10                      And Mr. Garbin, you have the privilege of speaking,

11           too.    You don't have to.    It's an opportunity, not an

12           obligation.    I have certainly read the materials that your

13           lawyers sent in from you.       I heard from you on the video as

14           well.   But if there is something you want to say here in the

15           sentencing process directly to me, please do.          And I'll bet

16           your lawyer can help you get that microphone close so that you

17           don't have to move from your seat.        You can just stay right

18           there and I'll be glad to listen.        Go ahead.

19                      THE DEFENDANT:     Your Honor, first I would like to take

20           this opportunity to apologize to Governor Gretchen Whitmer and

21           her family.    I have had a lot of time to reflect on my actions,

22           and I never realized what my actions would have caused to her,

23           but also her family.      I can't even begin to imagine the amount

24           of stress and fear her family members felt because of my

25           actions, and for that I am truly sorry.
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 1                      I'd also like to take this opportunity to apologize to

 2           my family and friends, Your Honor.        I never took into

 3           consideration the emotional effect that my actions would take

 4           on them as well, and for that I was truly selfish to not take

 5           into consideration my family members that have meant so much to

 6           me.

 7                      Going forward, Your Honor, I would like to continue to

 8           work with Parents for Peace, not just to deradicalize myself

 9           and build myself into a better person, but to help others from

10           becoming radicalized and help them from making the decisions

11           that I have made and bring some change and some good to the

12           environment.    And that's all I have, Your Honor.

13                      THE COURT:    All right.    Thank you.

14                      We can go to the Government, Mr. Kessler.

15                      MR. KESSLER:     Thank you, Your Honor.

16                      I'll just begin by addressing the 5K motion, and I'll

17           just phrase this in terms of the five characteristics that §

18           5K1.1 lays out.     First as to the significance of the

19           cooperation.    It's hard to over state how significant

20           Mr. Garbin's cooperation was here.        He filled in a lot of gaps

21           for us.

22                      As the Court can imagine there is a lot of recordings

23           out there of things that confidential informants or undercover

24           agents were able to record, and there were a lot of

25           considerations and things that happened that don't get captured
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 1           on a tape device, and Mr. Garbin was there for a lot of those

 2           and was able to fill in those gaps, for example.           Times where

 3           he talked with other Defendants where no undercover was there.

 4                      We also -- we had a lot of evidence of intent that was

 5           circumstantial evidence but having Mr. Garbin come in and tell

 6           the insider's version of the story has been critical.            Probably

 7           more than anything else having somebody who was part of this

 8           agreement say, this wasn't just big talk.          We really meant to

 9           do it is a huge thing and it's going to be important to the

10           jury when he testifies.

11                      As far as the truthfulness of the information he's

12           given us, as I mention in our sentencing memo it's all been

13           corroborated by external evidence.        And I noticed this in

14           questioning him during his testimony that he never really

15           minimized his conduct at all, and it's one of the reasons that

16           kind of thing is admissible as an exception to the hearsay rule

17           is that admissions against interest tend to be correct.            He

18           didn't hold back.     He would come right out and say, we planned

19           to do this and I was knowingly a part of it.

20                      As far as the nature and extent of the cooperation he

21           has given us, I won't belabor the point.         Mr. Satawa made it.

22           He's testified twice.      He's given us multiple debriefings and

23           he's sat for hours answering all of our questions.

24                      As far as the risk, I would just -- I think this is a

25           good time to just address what Mr. Springstead was saying.
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 1           He's correct that Mr. Garbin has put a target on his back, not

 2           only retaliation from the other defendants, but potentially

 3           their ideological sympathizers in prison or people who want to

 4           be famous for, you know, taking on somebody who is -- was high

 5           profile in a national case.       I do think, for what it's worth,

 6           that this is not necessarily the time to fully reward that.            As

 7           Mr. Springstead said, he's going to be a star witness we

 8           assume.   You know, we fully expect him to testify at the trial.

 9           I don't think it's realistic that all of them are going to

10           plead, but even if they did, Rule 35 would allow us to address

11           that then.    He is not really facing that much danger right now

12           prior to trial because he has been segregated in a different

13           place than the rest of the Defendants.         I think where the

14           danger really comes in is when he gets designated to a Bureau

15           of Prisons facility and I think that would be the time we do

16           anticipate if he testifies like he has been filing a Rule 35

17           motion and we could address it then.

18                      And then finally, as far as the timeliness of his

19           assistance, as Defense counsel have pointed out it was before

20           the indictment, before discovery, and it did allow us to

21           proceed to the grand jury to obtain this indictment with

22           confidence, and he also gave us information that we needed to

23           file a superseding indictment with even more serious charges

24           early on in the process so we weren't having to push back the

25           trial date.
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 1                      As far as the 3553 -- did you want to hear anything

 2           else about 5K, Your Honor?

 3                      THE COURT:    Anything you have, but I don't have any

 4           other questions.

 5                      MR. KESSLER:     That's all, Your Honor.

 6                      THE COURT:    Thank you.

 7                      MR. KESSLER:     Thank you.

 8                      As far as the sentencing overall and the 3553 factors,

 9           I agree the Court does need to consider both the crime and the

10           offender, and we think on the basis of the crime itself a

11           guideline sentence is appropriate.         And on the basis of some of

12           the mitigating factors about the Defendant, we think a low end

13           sentence within that guideline range is appropriate as well.

14                      I think three of the factors are probably the most

15           important.    First, the characteristics of the offender.          I

16           won't belabor this either because Defense counsel did an

17           eloquent job of doing it and I thought their video was also

18           pretty moving in that sense.       One thing I'd note is the fact

19           that he has no criminal history.         It's great.   I think we're

20           going to see that more and more, though, with people who are

21           involved in these militia extremist type of cases because

22           otherwise they couldn't get guns.        But I would agree with

23           Defense counsel that --

24                      THE COURT:    They couldn't legally get guns.

25                      MR. KESSLER:     Not legally.    That's right.     You know, I
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 1           would agree with Defense counsel that this is not just a case

 2           of somebody who doesn't have -- has old convictions that don't

 3           score or something like that.       He has never been in trouble

 4           before and that's different.

 5                      It did make me wonder when you see this, why would a

 6           productive citizen with a good job like being an aircraft

 7           mechanic who is otherwise law abiding get involved in something

 8           like this?    And there is just a huge system of disinformation

 9           swirling around out there, and I understand their point that

10           people sometimes feel like they have a lack of control.

11           Anybody who worked for the Government when we stopped getting

12           paychecks for no reason or anyone who has ever worked in a

13           factory and been laid off through no fault of their own

14           understands that frustration and wanting to do something to

15           take some control over it.       I would distinguish him from some

16           other people involved in this conspiracy because I think there

17           are purveyors of that disinformation and there are consumers.

18           I would put Ty Garbin more on the consumer camp as opposed to

19           someone like Mr. Croft who was actively selling an

20           antigovernment ideology to everybody else.

21                      As far as the seriousness of the offense, that's hard

22           to overstate here.     The underlying object of the conspiracy to

23           kidnap the sitting Governor of a state is about as serious as

24           it can possibly get.      And it's not just a thought crime here.

25           I know there is, you know, a temptation to look at something
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 1           like a conspiracy that's an inchoate defense as a thought crime

 2           where you're just talking about it, thinking about doing it,

 3           but they weren't just sitting around talking about it.            And I

 4           know some of the other Defendants that filed motions that

 5           suggest that what they were up to was protected by the First

 6           Amendment, for example.      But they weren't just sitting around

 7           talking about doing it.      They were practicing with

 8           semiautomatic assault weapons.        They made real bombs that

 9           exploded, and they were doing both daytime and nighttime

10           surveillances of the Governor's house.

11                      And I think we need to -- just to see how serious it

12           is you need to take the Governor's position, her elected

13           position out of the equation for a moment and just imagine

14           ourselves, anyone in here or someone we love, that they are

15           sitting at home and somebody who has it out for them literally

16           has -- is training with guns and explosives and is sitting

17           outside their house in the middle of the night having driven

18           across the country to do it, just how scary that is that people

19           would go that far and how many lines that crosses.

20                      One of the things I pointed out in the sentencing memo

21           and I'd just like to emphasize this is why I cited that Supreme

22           Court case, the Callanan case, is just how dangerous this kind

23           of a conspiracy can be, and it's not just because they might

24           succeed in kidnapping the Governor.        It's because of all the

25           other bad things that could happen in a case like this.            When
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2180 Filed 09/30/21 Page 20 of 37
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 1           you get a bunch of people like this together who might not

 2           otherwise be that extreme but for the fact that they were

 3           altogether, egging each on, whipping each other up and coming

 4           up with crazy ideas.

 5                       And those ideas kept changing.       As the Court is going

 6           to hear and has seen from the PSR, and you are going to see in

 7           the trial, they started out with ideas like raiding the State

 8           Capitol, and then when they decided that was too hard to do

 9           they shifted and it was maybe we'll take Governor Whitmer from

10           the official summer residence on Mackinaw Island, and then they

11           changed it to her house, the one that they were actually casing

12           at night.

13                       And they kept changing that.      And at any time there

14           was the danger that somebody would see an opportunity to do

15           something crazy and they'd all whip each other up into a frenzy

16           and go do it, or they might react to something they didn't

17           anticipate.    For example, one of the things the Court will see

18           at the trial is a video of Adam Fox sitting in the Vac Shack,

19           the place where he worked at night, and police were there on

20           South Division for some unrelated reason, and there is actually

21           a video of it, and he is sitting in there telling the rest of

22           them, they are here for me.       They know about it basically.

23           They are here for me, and I have my AR-15 and I am ready to

24           start shooting.     Had nothing to do with him, but that just

25           gives you an idea of how serious it is when these people are
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2181 Filed 09/30/21 Page 21 of 37
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 1           convinced that the Government is coming for them and that they

 2           have to act.

 3                      As I also mentioned, you know, this could have

 4           happened on any other number of occasions when they were

 5           driving around with bomb components or illegal weapons.            Some

 6           poor unsuspecting deputy sheriff could have pulled them over

 7           for speeding and you could end up with that person getting

 8           killed.   All of those are things that are risks of this

 9           conspiracy whether or not they ever could have pulled off the

10           actual kidnapping of the Governor.

11                      Finally, I think -- and one of the most important

12           things that we need to look at here is deterrence.           I am not

13           sure that specific deterrence is the biggest consideration in

14           this case.    I think Ty Garbin probably has learned a lesson

15           from this, but general deterrence is critical in this kind of

16           case.   You can't turn on the TV any night or read the newspaper

17           without seeing two or three more instances of people doing

18           stuff like this, militia involved type of people,

19           antigovernment extremists, and they are being whipped up by

20           people who are on television, they are on the Internet,

21           politicians, current and former, who want to whip up this kind

22           of sentiment for their own reasons, for their own profit.              And

23           there are people who are going to be receptive to this message.

24                      Now, I think there are people who are naturally

25           receptive to it, and you'll hear in the trial there are some
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2182 Filed 09/30/21 Page 22 of 37
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 1           people who heard about all this who associated with them who at

 2           some point pulled the plug and said, whoa, this is getting out

 3           of hand, I am not going to jail over this, and left the

 4           conspiracy.

 5                       Then there are people like Ty Garbin who by his own

 6           admission as you saw in the video was on the bubble.           Saw red

 7           flags.    Knew in his brain that what he was doing was wrong but

 8           in his heart maybe just stuck around longer than he should

 9           have.    There are going to be people for whom the decision

10           whether to leave and say, I am not doing this, or stay in the

11           bubble is influenced by knowing what happens in a case like

12           this.    And if they see that there are serious consequences for

13           doing something like conspiring to kidnap a Governor or in the

14           Washington case, you know, conspiring to try and overturn an

15           election, that may make a difference in their decision process.

16                       So I think we need to send a general deterrent message

17           to everyone with this sentence that you need to think for

18           yourself.    That's why I think given all those factors a

19           guideline sentence is appropriate, but because of Mr. Garbin's

20           individual circumstances I think a sentence at the low end is

21           appropriate.

22                       THE COURT:   All right.    Thank you.

23                       Is anybody planning to speak on behalf of the victim?

24           I have read the impact statement in the PSR, but of course,

25           somebody would have an opportunity to speak if they wanted to.
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2183 Filed 09/30/21 Page 23 of 37
                                                                                    23

 1                      MR. KESSLER:     Not that we have been made aware of,

 2           Your Honor.

 3                      THE COURT:    All right.    Anything else from the Defense

 4           perspective?

 5                      MR. SPRINGSTEAD:      No, Your Honor.    Thank you.

 6                      THE COURT:    Okay.   And speaking again of the victim, I

 7           didn't see a request for restitution.         It's a mandatory

 8           restitution offense but there is no request, is that right?

 9                      MR. KESSLER:     That's correct.

10                      THE COURT:    Thank you to all the participants here

11           today, the presentence officer and the lawyers who put together

12           really a lot of materials, and I think today's presentation

13           highlighted the key nuggets on both sides which I would expect

14           from good lawyers, and I am glad you gave it to me in advance

15           so I had time to think and reflect on it because every

16           sentencing is difficult and this one has its own difficulties.

17                      It's a fairly easy one to start with because we always

18           start with guidelines and everybody agrees in this case on what

19           the guidelines are.      After you apply acceptance of

20           responsibility credit the guidelines are 168 to 210 months

21           based on a level of offense 35 and a criminal history category

22           I.   But then the question is what's sufficient but not greater

23           than necessary to achieve the overall purposes of sentencing,

24           including all the things the lawyers have talked about and all

25           the things they have written about:        The need for public
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                                                                                    24

 1           deterrence like we just heard from the Government, specific

 2           deterrence that may or may not be necessary -- both sides have

 3           addressed that in this case -- the need for promoting

 4           rehabilitative opportunities to reflect the seriousness of what

 5           did happen here, and put all of that in the mix.

 6                      The first place to start is with the Government's

 7           motion for departure under 5K.        I recognize the basis for

 8           departure and it's well supported not just from what the

 9           parties have talked about here but from the written materials.

10           I do intend to grant that and the four levels that the

11           Government recommends as a reflection of the value of the

12           cooperation at this stage of the case.         Bringing Mr. Garbin

13           four levels down on the chart would suggest a guideline range

14           of 108 to 135 months, which is where the Government says I

15           should stay, albeit at the low end.

16                      The Defense position is that either by giving more

17           credit for that 5K or some combination of variance factors, I

18           should go further down well below the guidelines in their view

19           from the written materials to 72 months specifically today that

20           we hear from the podium, and the supporting letter that they

21           submitted and relied upon from the Parents for Peace calls for

22           a minimal custodial sentence.

23                      In my mind a minimal custodial sentence is not

24           appropriate here considering the seriousness of the offense and

25           the need for public deterrence, but I do agree that there are
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2185 Filed 09/30/21 Page 25 of 37
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 1           factors that call for some additional variance below the bottom

 2           of the guideline range, and in addition to the four-level 5K

 3           that the Government filed.       And I want to talk about that and

 4           tell the parties why I intend a custodial sentence in this case

 5           of 75 months, which is about another four levels down.

 6                      Let me start with the seriousness of the offense and

 7           the need for public deterrence, because those are, I think, the

 8           factors that most strongly augur against variance.

 9                      This was a plot to kidnap somebody, and I think any

10           plot to kidnap, no matter who the victim is, is frightening not

11           just to the intended victim but to that person's family,

12           associates, and of course, there is danger inherent in any kind

13           of a plot like that no matter how far along the group gets in

14           actually making it happen.       And one of the statements that the

15           Governor makes in her victim impact statement, which is part of

16           the presentence report, highlights that, though she doesn't

17           dwell on it, but it's, of course, a factor.

18                      When the target, though, is a sitting Governor, and

19           the motive is policy disagreement with the Governor's handling

20           of a public emergency crisis, I think the seriousness is even

21           worse because it really goes to the heart of what we all agree

22           to do together in a democratic republic.         Fierce differences of

23           opinion are nothing new.      They have been with us from the

24           foundation of the republic.       Of course, lawyers like and recall

25           the famous phrase of Oliver Wendell Holmes back in the 1905
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                                                                                      26

 1           dissent in Lochner.      The constitution is made of people of

 2           fundamentally different views.

 3                      The key, of course, is that constitution is designed

 4           to ensure that we work out our fundamentally different views

 5           peacefully, not at the point of a gun, not with some other

 6           blunt force threat like a kidnapping conspiracy.           Instead, we

 7           are going to use those constitutional rights we all have to

 8           speak, to assemble, to petition, to demonstrate, complain

 9           loudly but peacefully, and ultimately to vote.          And we actually

10           saw that path followed by some citizens who didn't like the way

11           Governor Whitmer handled things either, and most notably the

12           ballot initiative that succeeded in repealing some of the

13           statutes on which she based her emergency powers.

14                      That's the pathway that in a democratic republic we

15           vow to protect and use when we get spirited disagreements about

16           the way we ought to handle things.        And I think Governor

17           Whitmer's impact statement captured this, too, and I just want

18           to read a short part of it.       It's not something I need to read

19           in its entirety, but this, I think, captures exactly the point.

20           She says, "Our political system requires participation,

21           responsibility, respect for each other and compromise.

22           Violence and threats have no place in our politics.           Violence

23           harms every one of us and endangers our democracy."

24                      And that is, I think, absolutely right.         I think she

25           has captured it perfectly.       And in my mind, after reviewing the
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                                                                                    27

 1           record in this case, including the facts, the very specific

 2           facts that Mr. Garbin embraced in the plea agreement, I don't

 3           think there is any doubt that he crossed the line.           He joined a

 4           dangerous conspiracy to kidnap the Governor and he did so of

 5           his own free will, not because Government agents led him down a

 6           path that he was unwilling to travel on his own.           On this

 7           record I think there is no doubt about that.

 8                      So that certainly needs to be reflected in the Court's

 9           sentence, and it's why I don't think a minimal custodial

10           sentence is appropriate, but I don't consider 75 months minimal

11           by any stretch of the imagination, though it is below

12           guidelines.

13                      And that's really where I want to go next, because

14           individual matters -- individuals matter, too, and I think all

15           sides, including the Government, recognized that.           And I

16           personally don't think specific deterrence for Mr. Garbin is

17           really needed, at least from what I can see on this record.            He

18           has changed his behavior for sure, but I think he has changed

19           his heart and mind, too, and I think he is an excellent

20           prospect to walk law-abiding paths once he has finished paying

21           for these very serious mistakes.

22                      And I think another person who recognizes that

23           individuals matter, too, is, again, the victim, Governor

24           Whitmer, who points this out in her victim impact statement.

25           She says, "There is room for grace and rehabilitation for those
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                                                                                     28

 1           who recognized the anger that has been unleashed and assisting

 2           in unearthing the hate that has taken root in our society.

 3           This will help reestablish the ideals and aspirations that made

 4           our nation a beacon of possibility and opportunity to the rest

 5           of the world."     And I agree with that, too, and I think this

 6           Defendant, Mr. Garbin, is one of the people who should benefit

 7           from that sentiment in a tangible way in the form of a variance

 8           that I am intending.

 9                      We've heard already from both sides.         He has zero

10           prior issues with law enforcement in the first 24 years of his

11           life.   He is not just category I criminal history.          It's not

12           just zero points.     It's zero engagement with law enforcement.

13           And the Defense brief I think cites some statistical analysis

14           that suggest that bodes well for success, but I do think it's a

15           very strong and positive indicator of success going forward.

16                      And he didn't just avoid problems with law enforcement

17           in the 24 years he has managed despite obstacles to achieve

18           many important things.      He had some difficulty with traditional

19           learning, but nonetheless, you got through high school.            He

20           then went onto earn certification as an aviation mechanic,

21           which is difficult in its own right, that led to a good,

22           strong, solidly middle class economic opportunity, and that was

23           great and probably one of the things that fueled his anger and

24           disappointment in the immediate aftermath of the lockdowns that

25           hit the aviation industry particularly hard.
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                                                                                       29

 1                      But none of that is an excuse for the dark and the

 2           unlawful turn he made in response, and in my mind standing

 3           alone that wouldn't be a basis for variance either.           At least

 4           most of the people I sentence in this court have overcome and

 5           faced some obstacles, some more severe than Mr. Garbin.            Some

 6           less.    But the question to me at least in the most extreme of

 7           cases is how they respond to all of that, their behavior, and

 8           how it fits in the overall mix of other factors, not the mere

 9           fact that they had difficulties, which I'm sure he did.

10                      And that's what's more impressive to me here, not just

11           the words of Mr. Garbin that he is abandoning this path, but

12           the things he has done, concrete things he has done to

13           demonstrate to me that he means it.        And I want to highlight a

14           couple of those, not that we haven't heard about them.            We have

15           already, but I want to highlight the ones that are significant

16           to me.

17                      First, he took full responsibility very early in this

18           case to say, I did wrong, I know I did wrong, and I am not

19           going to run away from the consequences.         I think Mr. Satawa

20           was right.    I think it was within the first 60 days of the

21           filing of the complaint and the initial arrest.           It was, in any

22           event, before formal indictment, which is maybe not

23           unprecedented in my 14 years but pretty unusual and certainly

24           unprecedented in a case of this magnitude.          And I think that

25           reflects not just a desire and hope that he would get some kind
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 1           of credit for it, but a reflection that once he stepped outside

 2           of that bubble he put himself in and surrounded himself with

 3           people that were not good for him, that facilitated and fueled

 4           that kind of momentum that Mr. Kessler and the Supreme Court

 5           cited back in the Callanan decision.         Once he stepped outside

 6           of that he could exhale and I think in a sense breathe his own

 7           sigh of relief that he was now back in a land he recognized

 8           with people and his family that he recognized who are socially

 9           responsible, and he could take the first step, the first key

10           step, which is recognition and acceptance of that

11           responsibility, and I think he did it.         But he went beyond

12           that.

13                      Secondly, he went onto say I not only want to take

14           responsibility for myself, I want to undue, to the extent I

15           can, some of the harm I did.       And he did this again early by

16           making a full accounting that we heard of from Mr. Kessler

17           today, from the Defense table, too, and that's more detailed in

18           the written materials because he wanted to try to do some of

19           those things that Gretchen Whitmer, Governor Whitmer in her

20           comments noted.     If you help unearth this kind of thing as its

21           taking root that's going to help us reestablish the ideals and

22           aspirations that continue to attract the refugees of the world

23           to our shores.     Because we don't solve our problems.        We agree

24           to solve -- by brute force.       We agree to solve our problems

25           without the butt of a gun, the point of a gun or other brute
     Case 1:20-cr-00183-RJJ ECF No. 349, PageID.2191 Filed 09/30/21 Page 31 of 37
                                                                                     31

 1           force.

 2                       And once you make that statement and step forward in

 3           the words of, I think, the lawyers in both writing and today,

 4           you do put a target on your back, and Mr. Garbin has that.             He

 5           has certainly burned a bridge to that dark side.           He is not

 6           going back, at least not easily, and I think that augurs well.

 7                       And then the third thing that I don't see from

 8           everybody but I see from Mr. Garbin, is the decision to reach

 9           out to people who can help him, whether it's Parents for Peace

10           or other people who can help him understand and help his family

11           understand what led him into this darkness?          And he did that

12           before I made him do it or anybody else made him do it.            He did

13           it, I think, because he wanted to understand and he wanted

14           tools to make sure this never happened again.          And I see that

15           in the materials that were submitted in advance that that kind

16           of help has taken root, I think, for Mr. Garbin, and I think we

17           are starting to see the fruit of that in his own life and

18           response.

19                       And then the family letters, which, of course, are not

20           unusual.    I think are in the same vein and worthy of a comment.

21           Of course, I get a lot of letters from family members at the

22           time of the sentencing of a loved one, but what strikes me

23           about these, these are from people who have uniformly lived

24           productive and law abiding lives themselves.          They respect the

25           constitution and laws of the country, and in some cases they
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 1           fought in the armed forces to defend those values.           And maybe

 2           even more importantly, they make no excuses for what Mr. Garbin

 3           did.    They are not enablers.     They are clear about that he did

 4           wrong.   They are sorry, sad and sometimes ashamed that he did

 5           wrong, and they are not afraid to call it out.          They love him

 6           anyway and are committed to providing the support that he needs

 7           to make sure they never go -- he never goes this route again.

 8           And I think so often it's tempting for family members, despite

 9           their best efforts, to enable the kind of wrongdoing that

10           landed the offender in front of me in the first place to try to

11           excuse or minimize it in some way, and this doesn't happen.

12                      Neither did it happen from Parents for Peace or other

13           groups that are supporting Mr. Garbin with tangible efforts to

14           help, in their words, deradicalize in my words, help him

15           understand what happened and get back into the normal side of

16           the democratic republic.      To have those forceful opinions,

17           whatever they may be, to advance them peacefully and lawfully

18           and to abandon and disown any effort to violently pursue those

19           ends.

20                      So that's why from my perspective something more than

21           the Government's four-level 5K is needed to reflect that person

22           in those factors, but still a significant custodial term is

23           needed in order to demonstrate the seriousness of this to the

24           public, as well as to Mr. Garbin, though I think he already

25           knows it, and to deter future conduct from people who might be
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 1           similarly inclined.

 2                      I certainly am going to recommend substance abuse

 3           assessment and treatment.       We didn't really talk about that

 4           much, but there is reference in the PSR and some of the

 5           briefing to suggest that Mr. Garbin would benefit from that.

 6           And of course educational and vocational opportunities for

 7           Mr. Garbin would be welcome and be useful.          So I'll recommend

 8           those things as well.

 9                      Supervision needs to follow.       I intend a period of

10           three years of supervision.       The normal mandatory terms will

11           apply and will include cooperation in the collection of DNA and

12           drug testing.

13                      Standard conditions also apply, which means no

14           firearms or other destructive devices or dangerous weapons,

15           among other things.

16                      And then the special conditions I intend are as

17           follows.    First, Mr. Garbin needs to provide the probation

18           officer with access to requested financial information.            Two,

19           he needs to participate in a program of substance abuse

20           assessment and treatment paying a portion of the cost as he is

21           determined able.     Three, to use only those computers or other

22           Internet capable devices that are approved in advance by the

23           probation officer.     And related, four, needs to provide the

24           probation officer with user names, e-mail addresses, passwords,

25           social media accounts, any form of ID he uses to create an
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 1           account accessible on the Internet.        And those two conditions

 2           are because the pathway here of trouble for Mr. Garbin was the

 3           social media Internet pathway, and we need a chance, an

 4           opportunity to monitor that.

 5                      And then fifth and the same vein, Mr. Garbin needs to

 6           submit to the search protocol of the probation office

 7           permitting search of vehicle, papers, computers and the like on

 8           reasonable suspicion.      And then finally, he needs to

 9           participate in the computer monitoring protocol of the

10           probation office during the term of supervision.

11                      From a financial point of view, the court intends the

12           special assessment of $100.       I don't intend a guideline fine.

13           The guideline fine is 40,000 to 250,000 dollars, but there is

14           no way from my review the finances of Mr. Garbin that he could

15           afford anything like that.       So I intend a below guideline fine,

16           $2,500, which will be providing some accountability financially

17           speaking during the Bureau of Prisons stay.          The minimum

18           quarterly installment in the Bureau of Prisons' IFRP program is

19           $25 quarterly.     The minimum monthly installment is $20

20           otherwise while in custody, and during supervision any balance

21           remaining I intend to be paid in minimum monthly installments

22           of $50.

23                      There would normally be a restitution award but there

24           is no request for one so I do not intend to award that.            And

25           then the forfeiture will be as it's provided in the preliminary
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 1           order of forfeiture I referenced earlier, and we'll include

 2           that in the final order as well.

 3                      So that's the overall intended sentences of the Court

 4           and the reasons for it.      We'll start with the Government for

 5           legal objections?

 6                      MR. KESSLER:     No legal objections, Your Honor.

 7                      THE COURT:    Defense?

 8                      MR. SPRINGSTEAD:      No legal objections, Your Honor.

 9                      THE COURT:    Okay.   All right.     I am going to go ahead

10           and impose that as the sentence of the Court, then, Mr. Garbin.

11           From a custodial term point of view, 75 months, supervision to

12           follow, three years, one hundred dollar special assessment, a

13           fine of the $2500, and the forfeiture as described in that

14           preliminary forfeiture document, and no restitution since none

15           is requested.

16                      So that's the sentence I am imposing now.          I am going

17           to make it the written judgment of the Court.          You have a

18           14-day window to appeal.      You talk to your lawyers.       If there

19           is something you want to appeal make sure they hear it so they

20           can put it on file.      If you are at a point that you can't

21           afford retained counsel anymore and you continue on you can

22           still file papers with the Court, and if you qualify the Court

23           can appoint somebody to carry the case for you.           Do you have

24           any questions about that?

25                      THE DEFENDANT:     No, Your Honor.
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                                                                                        36

 1                      THE COURT:    Okay.   Mr. Springstead?

 2                      MR. SPRINGSTEAD:      Yes, Your Honor.     We forgot to ask

 3           if he could be placed near his family in Milan?

 4                      THE COURT:    I don't have any problem with that.           I

 5           wondered if you were going to ask for that or if you had other

 6           concerns for him, but I will certainly reflect that if that's

 7           his desire.

 8                      Do you have any comment or objection?

 9                      MR. KESSLER:     No, Your Honor.

10                      THE COURT:    I'll add that, then, as one of the

11           recommendations.     Is there anything else today?

12                      MR. KESSLER:     Not from the Government today.

13                      THE COURT:    Anything else from the Defense?

14                      MR. SATAWA:    No, Your Honor.     Thank you.

15                      THE COURT:    All right.    Thank you.

16                      THE CLERK:    Court is adjourned.

17                      (Proceeding concluded, 4:50 p.m.)
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 1                                    REPORTER'S CERTIFICATE

 2

 3                    I, Paul G. Brandell, Official Court Reporter for the

 4             United States District Court for the Western District of

 5             Michigan, appointed pursuant to the provisions of Title 28,

 6             United States Code, Section 753, do hereby certify that the

 7             foregoing is a full, true and correct transcript of the

 8             proceedings had in the within entitled and numbered cause on

 9             the date hereinbefore set forth; and I do further certify that

10             the foregoing transcript has been prepared by me or under my

11             direction.

12

13

14                                      /s/ Paul G. Brandell

15                                      Paul G. Brandell, CSR-4552, RPR, CRR

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